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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

CITY OF ALMATY, KAZAKHSTAN and BTA
BANK JSC,
Plaintiffs,

_against_ 15 Civ. 5345 (AJN) (KHP)

MUKHTAR ABLYAZOV, VIKTOR
KHRAPUNOV, ILYAS KHRAPUNOV, and
TRlADOU SPV S.A.,

Defendants.

 

 

DECLARATION OF MATTHEW L. SCHWARTZ

MATTHEW L. SCHWARTZ, pursuant to 28 U.S.C. § 1746, declares the following
under penalty of perjury:

1. l am an attorney licensed to practice law in the State of New York and before the
United States District Court for the Southern District of New York. I am a partner in the law firm
of Boies Schiller Flexner LLP (“BSF”), counsel for Plaintiffs BTA Bank and the City of Almaty,
Kazakhstan (the “Kazakh Entities”) in the above-referenced action.

2. On October ll, 2017, defendants Ilyas and Viktor Khrapunov (the “Khrapunovs”)
and Triadou SPV S.A. took the deposition of Kenges Rakishev.

3. l defended Mr. Rakishev’s deposition

4. Dun`ng the deposition, l provisionally designated the entire deposition transcript
and recording as confidential under the Stipulated Protective Order, subject to later targeted de-

designations as appropriate

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5. On October l7, 2017, I received a copy of Mr. Rakishev’s entire final deposition
transcript (the “Transcn`pt”) by e-mail from John Curley, of Hoguet, Newman, Regal & Kenney,
LLP, counsel to defendants Ilyas & Viktor Khrapunov. ln addition, on October 20, 2017, I
received a copy of the Transcript from Mike Cline of Magna Legal Services. l have also had
access to the Transcript in a restricted folder on BSF’s servers.

6. To the best of my knowledge, only the following individuals at BSF received or
had access to the Transcript:

i. Matthew Schwartz
ii. Peter Skinner
iii. Randall Jackson
iv. Daniel Boyle
v. Craig Wenner
vi. Nameer Shukri
vii. Elise Milne
viii. J ake Eisland
ix. Sophie Roytblat
x. Abigail Tudor
xi. Lilly Cruz
xii. Ernesto Castillo

7. I previously submitted a Declaration regarding this matter dated October 30,

2017, and the testimony in that declaration remains true to the best of my knowledge A true and

correct copy of that declaration is attached as Exhibit A, and is incorporated herein.

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8. I have not sent, transferred, or provided access to the Transcript to anyone outside
of BSF. To the best of my knowledge, no one at BSF has distributed the Transcript to anyone

outside of BSF, including to our clients.

Dated: New York, New York
Novemberg'zow

tt L. Schwartz

